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                                        MINUTES



   CASE NUMBER:             CIVIL NO. 18-00192LEK-KSC
   CASE NAME:               Venice PI, LLC, et al. Vs. Doe 1, doing business as
                            showboxappdownload.com, et al.
   ATTYS FOR PLA:
   ATTYS FOR DEFT:
   INTERPRETER:


         JUDGE:      Leslie E. Kobayashi           REPORTER:

         DATE:       06/08/2018                    TIME:


  COURT ACTION: EO: COURT ORDER DENYING PLAINTIFFS’ REQUEST FOR A
  TEMPORARY RESTRAINING ORDER PURSUANT TO FED. R. CIV. P. 65(B)(1)

         On May 23, 2018, Plaintiffs Venice PI, LLC; Headhunter, LLC; MON, LLC; LHF
  Productions, Inc.; Cook Productions, LLC; Colossal Movie Productions, LLC; Automata
  Productions, Inc.; Criminal Productions, Inc.; Clear Skies Nevada, LLC; Bodyguard
  Productions, Inc.; I.T. Productions, LLC; SVZ Productions, Inc.; Splintered, LLC;
  Cobbler Nevada, LLC; and Justice Everywhere Productions, Inc. (collectively
  “Plaintiffs”) filed their Complaint and Application for Entry of Temporary Restraining
  Order and Preliminary Injunction (“TRO Motion”). [Dkt. nos. 1, 4.] This Court has
  deferred consideration of Plaintiffs’ request for a preliminary injunction until after their
  request for a TRO is resolved. [EO: Court Order Regarding Pltfs.’ Application for Entry
  of Temporary Restraining Order and Preliminary Injunction, filed 5/25/18 (dkt. no. 10)
  (“5/25/18 EO”), at 1.]

        Pursuant to Fed. R. Civ. P. 65(b)(1), Plaintiffs seek a TRO without notice to the
  adverse parties. In the 5/25/18 EO, this Court directed Plaintiffs to supplement the TRO
  Motion with materials addressing the requirements of Rule 65(b)(1)(B). [Id.] On June 3,
  2018, Plaintiffs filed a supplemental memorandum in support of the Motion
  (“Supplemental Memorandum”). [Dkt. no. 12.]

         Rule 65(b)(1) states:

                The court may issue a temporary restraining order without written or
                oral notice to the adverse party or its attorney only if:
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                       (A) specific facts in an affidavit or a verified complaint
                       clearly show that immediate and irreparable injury, loss, or
                       damage will result to the movant before the adverse party can
                       be heard in opposition; and

                       (B) the movant’s attorney certifies in writing any efforts
                       made to give notice and the reasons why it should not be
                       required.

  This Court has reviewed the TRO Motion and the Supplemental Memorandum and
  concludes that: Plaintiffs have not established they will suffer “immediate and irreparable
  injury, loss, or damage” before the defendants have the opportunity to oppose the TRO
  Motion; and Plaintiffs have not established why notice to the defendants should not be
  required.
          To the extent Plaintiffs seek a TRO without notice to the defendants, the TRO
  Motion is DENIED. The remainder of Plaintiffs’ TRO Motion will be held in abeyance
  until after Plaintiffs complete service on one or more of the defendants. After Plaintiffs
  have completed service on a defendant, Plaintiffs may request that the TRO Motion be set
  for hearing as to that defendant.

         IT IS SO ORDERED.

  Submitted by: Warren N. Nakamura, Courtroom Manager
